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UNITED STATES DISTRICT COURT                                        ! : ~ \1r»c
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SOUTHERN DISTRICT OF NEW YORK                                         /DUCL'\,;,,
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SPIRIT AEROSYSTEMS HOLDINGS, INC.,                                  :1; LLECJ    i~U" ~,\LL'.
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                                                                    L&;~ ~]2lTilYJ
                      Plaintiff,
              v.

SCOPIA CAPITAL MANAGEMENT LP;
SCOPIA MANAGEMENT, INC.; SCOPIA
CAPITAL GP LLC; MATTHEW SIROVICH;
JEREMY MINDICH; SCOPIA WINDMILL
FUND LP; SCOPIA INTERNATIONAL
MASTER FUND LP; SCOPIA PX LLC;
SCOPIA PX INTERNATIONAL MASTER
FUND LP; SCOPIA PARTNERS LLC;                        No. 18-cv-01735 (LTS)(HB)
SCOPIA LB LLC; SCOPIA LB
rNTERNATIONAL MASTER FUND LP;
SCOPIA LONG LLC; SCOPIA LONG                         STIPULATION OF DISMISSAL
INTERNATIONAL MASTER FUND LP;                        WITH PREJUDICE
SCOPIA LONG QP LLC; AND SMA,

                     Defendants,
                                   ----X


       IT IS HEREBY STIPULATED by the parties through their respective attorneys that this

action be dismissed with prejudice, each party to bear their own costs.




Dated: June .LR ,, 2019
       New York, New York




                                   [Signatures on following page]




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                   STIPULATION OF DISMISSAL WITH PREJUDICE
                                        1:18-cv-01735

Dated: New York, New York
       June Jg_, 2019

COHEN & GRESSER LLP                              AKIN GUMP STRAUSS HAUER &
                                                 FELDLLP
                                                               ...


Daniel H. Tabak
800 Third A venue
                                                 :uglas A. Raii1i
                                                 Robert I . Pees
                                                                     ~
New York, New York 10022                         Jacqueline Yecies
Tel.: (212) 957-7600                             Kaitlin D. Shapiro
Fax: (212) 957-4514                              One Bryant Park
                                                 New York, NY 10036
                                                 Telephone: (212) 872-7412
                                                 Fax: (212) 872-1002


Attorneys for Spirit AeroSystems Holdings,       Attorneys for the Scopia Defendants
Inc.




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LAURA TAYLOR SWAIN, U.S.0.J



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